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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION


 UNITED STATES OF AMERICA                                                         PLAINTIFF

 v.                              CASE NO. 5:15-CR-50060

 LARRY JESUS NAVARETE
 a/k/a LARRY NAVARRETE
 a/k/a NICA
 and
 GUADALUPE DURAN
 a/k/a GUADALUPE NAVARRETE
 a/k/a ISABEL NAVARRETE                                                       DEFENDANTS


                         MEMORANDUM OPINION AND ORDER

        Currently before the Court are Defendant Larry Jesus Navarete's Motion to

 Suppress Title Ill Wiretap Interceptions and Brief in Support (Doc. 88), and the exhibits

 attached thereto , as well as the Government's Response (Doc. 96). The Court has also

 reviewed the Applications for Interception of Wire and Electronic Communications and

 Affidavits in Support that are the subject of this Motion , which are fi led at Case No. 5:15-

 cm-00052 , Docs. 1and1-1 ; Case No. 5:15-cm-00060, Docs . 1and2; and Case No. 5:15-

 cm-00073 , Docs. 1 and 2, as well as this Court's orders granting all three Applications in

 those cases.    For the reasons given below, Mr. Navarete's Motion to Suppress is

 DENIED .

                                     I. BACKGROUND

        On July 30 , 2015 , the Government filed the first Application and Affidavit described

 above , seeking permission from this Court under 18 U.S.C . § 2518 to intercept

 communications from a target cell phone , which the Government believed Mr. Navarete



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 was using inside the Calipatria State Prison where he was incarcerated , to further a

 conspiracy to distribute methamphetamine in the Fayetteville Division of the Western

 District of Arkansas and to launder the financial proceeds therefrom. This Court entered

 an order that same day, granting the Government's Application . See Case No. 5:15-cm-

 00052 , Doc. 2. On August 14, 2015 , the Government filed the second Application and

 Affidavit described above , seeking permission under the same statute to intercept

 communications from an additional target cell phone, which the Government believed

 was being operated by the same person in the same place. This Court again entered an

 order on the same day, granting the Government's Application . See Case No. 5: 15-cm-

 00060 , Doc. 3. Then , on September 21 , 2015 , the Government filed the third Application

 and Affidavit described above , seeking permission under the same statute to intercept

 communications from yet another target cell phone , which the Government again believed

 was being operated by the same person in the same place . Once again , this Court

 entered an order granting the Government's Application on the same day. See Case No.

 5:15-cm-00073.

        The activities that were the subject of these Applications and Affidavits now fo rm

 the basis for the criminal charges against Mr. Navarete in the instant case . Mr. Navarete

 has moved for the fruits of these wiretaps to be suppressed , "on the grounds that they

 were illegally intercepted because they were based on misleading , unsupported , and

 factually insufficient affidavits, which lacked the requisite showing of necessity." (Doc.

 88 , pp. 3-4). Alternatively, Mr. Navarete has requested an evidentiary hearing under

 Franks v. Delaware, 438 U.S. 154 (1978), "to test the validity, accuracy, and

 completeness of the affidavits. " (Doc. 88 , p. 4). Although Mr. Navarete challenges all



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 three Affidavits, he focuses specifically on the July 30 Affidavit because the other two

 subsequent ones were based on it.        Id. at 3. Mr. Navarete raises two arguments in

 support of his Motion : (i) that the July 30 Affidavit failed to provide "a full and complete

 statement as to whether or not other investigative procedures have been tried and failed

 or why they reasonably appear to be unlikely to succeed if tried or to be too dangerous"

 as required by 18 U.S.C. § 2518(1)(c); and (ii) that the July 30 Affidavit failed to provide

 "a full and complete statement of the facts concerning all previous applications known to

 the individual authorizing and making the application . .. to intercept, or for approval of

 interceptions of .. . communications involving any of the same persons, facilities or places

 specified in the application" as required by 18 U.S.C. § 2518(1)(e). The Government

 opposes Mr. Navarete's Motion , which has been fully briefed and is now ripe for decision .

                                  11. LEGAL ST AND ARD

        18 U.S.C. § 2518(1 )(c)'s requirement of "a full and complete statement" regarding

 the use of other investigative procedures "seeks to insure that wiretaps are not routinely

 employed as the initial step in an investigation ; it does not, however, require that law

 enforcement officers exhaust all possible techniques before applying for a wiretap."

 United States v. Thompson , 210 F.3d 855 , 858-59 (8th Cir. 2000) (internal citations and

 quotation marks omitted). "The government is simply not required to use a wiretap only

 as a last resort ."   United States v. Macklin , 902 F.2d 1320, 1327 (8th Cir. 1990).

 Furthermore , "[e]ven if conventional techniques have been somewhat successful , .. . a

 wiretap may still be authorized ." United States v. Maxwell, 25 F.3d 1389, 1394 (8th Cir.

 1994 ). "In order to be entitled to a hearing under Franks the defendant must make a

 'substantial preliminary showing ' of a false or reckless statement or omission and must



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 also show that the alleged false statement or omission was necessary to the probable

 cause determ ination ." United States v. Milton , 153 F.3d 891 , 896 (8th Cir. 1996). The

 false statement or omission must have been committed either "knowingly and

 intentionally, or with reckless disregard for the truth ," and "[t]he 'substantial preliminary

 showing ' requirement needed to obtain a Franks hearing is not lightly met. " Id.

                                      Ill. DISCUSSION

        The Court begins with the issue of whether the July 30 Affidavit failed to provide

 "a full and complete statement as to whether or not other investigative procedures have

 been tried and failed or why they reasonably appear to be unlikely to succeed if tried or

 to be too dangerous" as required by 18 U.S.C. § 2518(1 )( c). The Court finds that the July

 30 Affidavit specifically described prior investigative procedures in Northwest Arkansas

 involving controlled drug purchases using confidential informants, some of which are

 identified by name , as well as communications from the target cell phone that appeared

 to concern drug trafficking and money laundering which were intercepted pursuant to a

 previous authorization of a different target which Mr. Navarete does not challenge in his

 Motion . See Case No. 5:15-cm-00052 , Doc. 1-1 ,    ,.m 18-31 . It also specifically explained
 how confidential informants and wiretapped cell phones on which the Government was

 previously relying had become either compromised or otherwise unavailable. Id. at          ,.m
 35-46 . It also specifically explained why other conventional investigative techniques ,

 including among many other things physical surveillance , undercover agents, trash

 searches, and mail-cover requests , would either be too dangerous or unlikely to succeed

 at accomplishing the objective of acquiring sufficient evidence to prosecute Mr. Navarete

for the crimes with which he is now charged. See id. at     ,.m 44-67. The Court finds from

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 all of these facts that the July 30 Affidavit more than amply satisfied 18 U.S .C.

 § 2518(1 )( c)'s requirements as interpreted by the Eighth Circuit.

        The Court turns now to the issue of whether the July 30 Affidavit complied with 18

 U.S.C. § 2518(1 )(e)'s requirement of providing "a full and complete statement of the facts

 concerning all previous applications known to the individual authorizing and making the

 application . . . to intercept, or for approval of interceptions of . . . communications

 involving any of the same persons, facilities or places specified in the application, and the

 action taken by the judge on each such application. " Mr. Navarete concedes that the July

 30 Affidavit discusses a prior wiretap in California that intercepted communications to

 which Mr. Navarete was a party on March 18, 2015 , April 5, 2015 , and April 7, 2015,

 identifying the federal judges who authorized and extended the wiretap. The Court knows

 from its own review of the July 30 Affidavit that the Affidavit also identifies the dates on

 which the order was granted and extended , as well as the DEA number, case name , and

 status of the associated investigation.

        Mr. Navarete argues that all of this information is insufficient to meet§ 2518(1 )(e)'s

 requirement of "a full and complete statement of the facts" concerning prior interceptions,

 but he does not cite any cases to support this contention. This Court has likewise been

 unable to find any cases that would support his argument, and is not persuaded by it.

The plain text of§ 2518(1 )(e) does not appear to require any disclosures about the facts

of the investigation underlying the prior wiretap , but rather simply the facts about the

application for the prior wiretap and the prior court's actions taken thereon . The July 30

Affidavit satisfies this requirement. See Case No. 5:15-cm-00052, Doc. 1-1 , iT 17.




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        Finally, the Court finds that Mr. Navarete has not made a "substantial preliminary

 showing ," or indeed any showing at all , that any statements or omissions in the July 30

 Affidavit were "knowingly and intentionally" false or committed "with reckless disregard

 for the truth ." Milton , 153 F.3d at 896 . Accordingly, Mr. Navarete is not entitled to a

 Franks hearing on any of the issues ra ised in his Motion .

                                    IV. CONCLUSION

        IT IS THEREFORE ORDERED that Defendant Larry Jesus Navarete's Motion to

 Suppress Title Ill Wiretap Interceptions (Do;J8) is DENIED .

       IT IS SO ORDERED on this      ~~y of August,             1




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